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       EXHIBIT
         “2”
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                  DECLARATION OF GORDON MORGAN IN SUPPORT
                  OF OBJECTIONS TO CLASS ACTION SETTLEMENT
                    IN RE: CATHODE RAY TUBE (CRT) ANTITRUST
                             LITIGATION, MDL NO. 1917

       Comes now GORDON MORGAN and states the following under oath and under penalty

of perjury in support of his objection:

       “My name is Gordon Morgan. I am over the age of eighteen (18) years. I have never been

       convicted of a felony. I am qualified and competent to make this declaration.”

       The facts stated herein are within my personal knowledge.”

       “My address is 4701 Ayers, Ste.105, Corpus Christi, Texas 78415. My telephone number

       is (281) 733-4097. I am a resident of Corpus Christi, Texas.”

       “I am a person that indirectly purchased for my own use and not for resale a CRT Product

       manufactured or sold by any of the Defendants or their alleged co-conspirators (listed in

       Question 6 of the Class Notice) between March 1, 1995 and November 25, 2007,

       therefore I am a class member.”

       “During the class period I was a resident of Texas and to the best of my recollection I

       purchased several televisions including a Toshiba and Panasonic television from Best

       Buy in Houston, Texas.”

       “I did not make such purchases for resale.”

       “I am not a Defendant, officer, director or employee of any Defendant; an entity in which

       any Defendant has a controlling interest; or, an affiliate, legal representative, heir or

       assign of any Defendant.”

       “I am not a named co-conspirator, a federal, state or local government entity, a judicial

       officer presiding over this action or member of his/her immediate family and judicial

       staff, or a juror assigned to this action.”
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   "I am not a resident of Illinois, Oregon and Washington."

   "I have not opted out of the Settlement."

   "I object to the proposed settlement of IN RE: CATHODE RAY TUBE (CRT)

  ANTITRUST LITIGATION, MDL NO. 1917 for the reasons stated in my objection."

   " I declare under penalty of perjury under the laws of the United States of

  America that the foregoing is true and correct. Executed this the 6th day of

  October, 2015, at Corpus Christi, Texas."




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